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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  SPARTANBURG DIVISION

                                                 )
Earl Gavin,                                      )
                                                 )
                       Plaintiff,
       v.                                        )
                                                 )
                                                 )        Case No. 7:18-cv-00523-AMQ-JDA
Experian Information Solutions, Inc.; Trans
                                                 )
Union LLC; Equifax Inc.,
                                                 )
                       Defendants.               )
                                                 )
                                                 )



              DECLARATION OF LYNDEY R. Z. BRYANT IN SUPPORT OF
              DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
                MOTION TO COMPEL DISCOVERY FROM PLAINTIFF
                       AND SUPPORTING MEMORANDUM


       I, Lyndey R. Z. Bryant, declare as follows:

       1.      I am an attorney licensed to practice law in the State of South Carolina, and am an

associate in the law firm of Adams and Reese LLP, counsel for Defendant Experian Information

Solutions, Inc. (“Experian”) in the above-captioned action. I have personal knowledge of the

matters stated herein, and if called upon to do so, could and would testify competently thereto.

       2.      I make this Declaration in support of Experian’s Motion to Compel Discovery

from Plaintiff Earl Gavin (“Plaintiff’), filed concurrently herewith.

       3.      On June 26, 2018, I was copied on email correspondence from my co-counsel,

Autumn Patterson, whereby Experian propounded on Plaintiff its First Set of Interrogatories,

Requests for Production of Documents, and Requests for Admissions (collectively, the

“Discovery Requests”). A true and correct copy of the June 26, 2018 email correspondence is
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attached hereto as Exhibit A. Based on the parties’ agreement to electronic service of discovery,

Plaintiff’s responses to the Discovery Requests were due on or before July 26, 2018.

       4.      By July 30, 2018, Experian had not received Plaintiff’s responses to the

Discovery Requests.      On July 30, 2018, I was copied on email correspondence from

Ms. Patterson to Plaintiff regarding the status of his responses. A true and correct copy of the

July 30, 2018 email correspondence is attached hereto as Exhibit B. I did not receive any

response from Plaintiff, nor am I aware of any response sent to my co-counsel.

       5.      On August 3, 2018, I was copied on email correspondence from Ms. Patterson to

Plaintiff regarding the status of his responses. Plaintiff responded that he would serve his

discovery responses that night.      A true and correct copy of the August 3, 2018 email

correspondence is attached hereto as Exhibit C.

       6.      On August 4, 2018, Plaintiff served his responses to the Discovery Requests via

email. A true and correct copy of the August 4, 2018 email correspondence and Plaintiff’s

responses to the Discovery Requests is attached hereto as Exhibit D.

       7.      On July 25, 2018, Experian produced to Plaintiff copies of all documents that it

sent to Plaintiff upon his request, including the “personal credit reports” dated October 20, 2017,

and January 10, 2018, referenced in the First Amended Complaint.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, and that this declaration was executed on August 20, 2018, in

Columbia, South Carolina.


                                                     /s/ Lyndey R. Z. Bryant
                                                     Lyndey R. Z. Bryant




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                                CERTIFICATE OF SERVICE

       A copy of the foregoing was filed on August 20, 2018, with the Court via the CM/ECF

system, causing it to be served on all counsel of record. In addition, a copy of the foregoing was

sent via mail and email to pro se Plaintiff at the physical address and email address listed below

       Earl Gavin
       300 Marion Ave.
       Gaffney, SC 29341
       Egav1986@gmail.com
       Pro Se Plaintiff


                                                     /s/ Lyndey R. Z. Bryant
                                                     Lyndey R. Z. Bryant




                                               -3-
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Cook, Jonna L.

From:                              Patterson, Autumn Hamit
Sent:                              Tuesday, June 26, 2018 9:40 PM
To:                                Eugene Gavin; rbarker@wyche.com; Johnson, Wilbur
Cc:                                Lyndey R. Z. Bryant
Subject:                           Service of Defendant Experian's First Set of Written Discovery
Attachments:                       Experian's First Set of RFPs to Plaintiff Gavin.pdf; Experian's First Set of Interrogatories to
                                   Plaintiff Gavin.pdf; Experian's First Set of RFAs to Plaintiff Gavin.pdf


Mr. Gavin, 
 
I am writing regarding Defendant Experian Information Solutions, Inc.’s (Experian’s) first set of written discovery requests in 
Gavin v. Experian Information Solutions, Inc. et al., No. 7:18‐cv‐00523‐AMQ‐JDA (D.S.C.).  Copies of Experian’s first set of 
requests for production of documents, first set of interrogatories, and first set of requests for admission are attached. 
 
Sincerely, 
Autumn    
 
Autumn Hamit Patterson 
Associate 
JONES DAY® - One Firm Worldwide℠ 
2727 North Harwood St.
Dallas, Texas 75201
Office +1.214.969.2966 
ahpatterson@jonesday.com 
 




                                                                   1
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Sun, Jennifer

From:                              Patterson, Autumn Hamit
Sent:                              Monday, July 30, 2018 1:46 PM
To:                                'Eugene Gavin'; Lyndey R. Z. Bryant
Subject:                           RE: Need your Log


Mr. Gavin, 
 
Information was not withheld on the basis of attorney‐client privilege in response to Interrogatory No. 3, 4, or 5.  These 
requests asked for information that would be protected by attorney‐client privilege; however, in this instance, the 
information being requested that would be privileged does not exist.  For example, Interrogatory No. 3 requests the 
identification of any expert witness that Experian consulted with regarding this case.  Interrogatory No. 4 could also be 
interpreted as requiring Experian to identify potential expert witnesses that Experian consulted with regarding this 
case.  Although such information would be privileged, unless Experian ultimately retained the expert and the expert was 
going to testify, Experian has not consulted with any expert witnesses or potential expert witnesses regarding this 
case.  Interrogatory No. 5 is vague and could be requesting privileged information.  Nonetheless, as Experian’s response 
explains, it has taken no statement regarding an individual’s personal knowledge of the allegations in the Amended 
Complaint.    
 
Please let me know if you have any questions. 
 
On another note, Experian has not received your responses to its written discovery requests.  The deadline for 
responding has passed.  Please advise regarding whether those responses are in the mail. 
 
Sincerely, 
Autumn   
 
Autumn Hamit Patterson 
Associate 
JONES DAY® - One Firm Worldwide℠ 
2727 North Harwood St.
Dallas, Texas 75201
Office +1.214.969.2966 
ahpatterson@jonesday.com 
 
From: Eugene Gavin <egav1986@gmail.com>  
Sent: Sunday, July 29, 2018 11:21 AM 
To: Patterson, Autumn Hamit <ahpatterson@jonesday.com>; Lyndey R. Z. Bryant <lyndey.bryant@arlaw.com> 
Subject: Need your Log 

Hello Autumn,

There is a mention in your response to my interrogatory no. 3, 4, 5, said that you have information that is
protected by attorney-client privilege. If this is the case, then I need to produce your attorney-client privilege
log in timely manner.. If you cannot or refuse to produce then i will be force to Motion the court to compel you
to give it up.

Please advise...


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Sun, Jennifer

From:                           Eugene Gavin <egav1986@gmail.com>
Sent:                           Friday, August 3, 2018 12:15 PM
To:                             Patterson, Autumn Hamit
Subject:                        Re: Need Responses to Experian's Discovery Requests



You will have it tonight when i get home.

Thanks

On Fri, Aug 3, 2018, 10:52 AM Patterson, Autumn Hamit <ahpatterson@jonesday.com> wrote:

 Mr. Gavin,



 As I informed you on Monday, July 30, the deadline to respond to Experian’s written discovery requests has
 passed. Experian has still not received those responses in the mail or via email. Please advise regarding
 whether those responses are in the mail and, if so, please provide the tracking number.



 Sincerely,

 Autumn



 Autumn Hamit Patterson
 Associate
 JONES DAY® - One Firm Worldwide℠
 2727 North Harwood St.
 Dallas, Texas 75201
 Office +1.214.969.2966
 ahpatterson@jonesday.com



 ***This e-mail (including any attachments) may contain information that is private, confidential, or protected
 by attorney-client or other privilege. If you received this e-mail in error, please delete it from your system
 without copying it and notify sender by reply e-mail, so that our records can be corrected.***




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Patterson, Autumn Hamit

From:                          Eugene Gavin <egav1986@gmail.com>
Sent:                          Saturday, August 4, 2018 6:58 PM
To:                            Patterson, Autumn Hamit
Cc:                            Lyndey R. Z. Bryant
Subject:                       Re: Need Responses to Experian's Discovery Requests
Attachments:                   ExperianAdmission.MyAnswer.pdf; ExperianInterrogatories.Myresponse.pdf;
                               ExperianProduction.MyResponses.pdf



Attached are my responses to your client discovery. And I will be sending an additional email with documents
in reference some of my response to discovery and documents that i will be presenting at trial.

On Fri, Aug 3, 2018 at 10:52 AM, Patterson, Autumn Hamit <ahpatterson@jonesday.com> wrote:

Mr. Gavin,



As I informed you on Monday, July 30, the deadline to respond to Experian’s written discovery requests has
passed. Experian has still not received those responses in the mail or via email. Please advise regarding
whether those responses are in the mail and, if so, please provide the tracking number.



Sincerely,

Autumn



Autumn Hamit Patterson
Associate
JONES DAY® - One Firm Worldwide℠
2727 North Harwood St.
Dallas, Texas 75201
Office +1.214.969.2966
ahpatterson@jonesday.com



***This e-mail (including any attachments) may contain information that is private, confidential, or protected
by attorney-client or other privilege. If you received this e-mail in error, please delete it from your system
without copying it and notify sender by reply e-mail, so that our records can be corrected.***




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

                                                  )
  EARL GAVIN                                      )
            Plaintiff                             )
                                                  )       Case No 7:18-cv-00523-DCC-JDA
  vs                                              )
                                                  )
  EXPERIAN INFORMATION                            )
  SOLUTIONS, INC.; TRANS UNION                    )
  LLC; EQUIFAX INFORMATION
  SERVICES LLC, EQUIFAX, INC;                    )
            Defendants                           )
                                                 )
                                                 )


       PLAINTIFF EARL GAVIN RESPONSES TO DEFENDANT EXPERIAN
             INFORMATION SOLUTIONS, INC.'S FIRST SET OF
                         INTERROGATORIES

  Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Earl Gavin response to the

  Defendant Experian Information Solution Inc First Set oflnterrogatories to the following

  interrogatories, in writing under oath


                               PRELIMINARY STATEMENT

  Although Plaintiff has made a diligent and good faith effort to obtain the information with

  which to respond to these request, discovery in this matter. Moreover, Plaintiff has not yet

  completed its investigations of this matter. For those reason, Plaintiff anticipate that its

  responses may be incomplete and that additional information may be obtained which

  could affect its responses. Accordingly, all of the following responses are given without

  prejudice to and with the express reservation of Plaintiffs right to supplement or modify

  its objections and responses to the extent required by applicable law to incorporate late
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  discovered information, and to rely upon and all such information and documents at trial

  or otherwise.

  Likewise, Plaintiff shall not be prejudiced if any of its present, objections and response

  are based on an incomplete knowledge or comprehension of the facts, events or

  occurrences involved in this matter.

  If Defendant, subsequently asserts a different interpretation than presently understood by

  Plaintiff, Plaintiff reserves the right to supplement or amend these objections and

  responses.


                           DEFINITIONS AND INSTRUCTIONS

  The following definitions and instructions shall apply to Experian's interrogatories:

  1. "Communication" includes every manner of transmitting or receiving facts,
  information, opinions, or thoughts from one person to another person, whether orally, by
  documents, writing, e-mail, or copy thereof, and to words transmitted by telephone, radio,
  or any method of voice recording.

  2. The word "Person" means any natural or artificial person, including business
  entities and other legal entities.

  3. "Experian" refers to Defendant Experian Information Solutions, Inc. an Ohio
  corporation with its principal place of business located in Costa Mesa, California and any
  of its agents or representatives.

  4. "You," "Your" and "Plaintiff' refers to Plaintiff Earl Gavin and any agents,
  representatives, or other persons acting, or who have acted, on Plaintiff's behalf.

  5. " Complaint" refers to the First Amended Complaint filed by Plaintiff Earl Gavin
  on or about May 25, 2018, in the United States District Court, District of South Carolina,
  Case No. 7:18-cv-00523-AMQ-JDA.

  6. "FCRA" refers to the federal Fair Credit Reporting Act, codified at 15 U.S.C.
  §§ 1681-1681u.

  7. "Plaintiffs Credit Report" refers to the report or reports on Plaintiffs credit
  history compiled by Experian and provided to third parties.
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   8. "Plaintiffs Credit Disclosure" refers to the report or reports on Plaintiffs credit
   history compiled by Experian and provided to Plaintiff.

   9. "And" or "or" shall be construed conjunctively or disjunctively as necessary to
   make the requests inclusive rather than exclusive.

   10. The use of the word "including" shall be construed to mean "without limitation."

   11. Reference to the singular in any of these requests shall also include a reference to
   the plural, and reference to the plural shall include a reference to the singular.

   12. "Related to" or "relating to" shall mean directly or indirectly supporting,
   evidencing, describing, mentioning, referring to, contradicting, comprising or concerning.

   13. To "state the basis" means to provide the complete factual summary of each
   element of the claim, allegation, or denial. The summary should chronologically describe
   each and every fact, action, and occurrence that relates to the particular claim, allegation,
   or denial.

   14. "Identify" or "describe" means the following:

  a. When used in connection with natural persons, "identify" or "describe"
  means to state the person's full name, present business address and
  telephone number, present home address, and city of residence as well as
  the substance of the person's knowledge, where such knowledge was
  obtained, whether such knowledge was discussed with you, when such
  discussions occurred, who participated in such discussions, and the
  substance of all discussions.

  b. When used in connection with an entity, "identify" or "describe" means to
  state the entity' s full name, last known address(es), telephone number, and
  organization form (e.g., corporation, sole proprietorship, partnership, joint
  venture, etc.).

  c. When used in connection with an act, "identify" or "describe" means to
  provide a description of the act, including the place, date, and time of its
  occurrence, and the persons and/or entities engaged in the act.

  d. When used in connection with documents, "identify" or "describe" means
  to state the nature of the document (e.g., memorandum, letter, notes, etc.),
  its author(s), its addressee(s) or recipient(s), its title or subject matter, and
  a date. If the document has already been produced, it can be identified by
  the number given to it at the time of production. If the document has not
  been previously produced, then Experian requests that it be produced,
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   pursuant to Fed. R. Civ. P. 34, along with Plaintiffs response to these
   interrogatories.

   e. When used in connection with an oral communication, "identify" or
   "describe" means to state the time, date, place, and means of the oral
   communication (e.g., telephone, personal meeting, etc.), the identity of all
   persons participating in the oral communication, the identity of persons
   hearing the oral communication, and a detailed description of the oral
   communication.

   15. In answering these interrogatories, Plaintiff shall furnish all information known or
   available. If any of these interrogatories cannot be answered in full, the interrogatory shall
   be answered to the extent possible.

  16. In the event you assert any form of objection or privilege as a ground for not
  answering an interrogatory or any part of an interrogatory, set forth the legal grounds and
  facts upon which the objection or privilege is based. If the objection relates to only part of
  the interrogatory, the balance of the interrogatory should be answered in full.


                                     INTERROGATORIES

  INTERROGATORY NO. 1:

  Describe Plaintiffs work history, including Plaintiffs present occupation and business
  address during the past five years.

  Plaintiff currently works at American Credit Acceptance which is a auto loan
  servicing company. Have been employed there for the past 8yrs. I'm part of the
  management team.

  INTERROGATORY NO. 2:

  Identify each Person who assisted in, or supplied information used in, preparing answers
  to these interrogatories.

  No one assist me with answering these interrogatories

  INTERROGATORY NO. 3:

  Identify all other lawsuits in which the Plaintiff is or was a party, including for each suit
  the case number, the name of the Court, the style of the case, the subject matter of the
  case, the amount in controversy, the Court's holding, if any, and the amount of damages
  awarded or the terms of any settlement.
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   Any lawsuit that I've been apart of, will be public information. Or can be gather on
   the government website www.pacer.gov

   INTERROGATORY NO. 4:

   If Plaintiff has had any contact with any type of credit counseling service or "credit
   clinic" during the past five years, describe all such contacts, e.g., the date of such contact;
   whether any agreement was signed by Plaintiff in connection with services provided; the
   amount of payments Plaintiff made in connection with the provided services, etc.

   Not applicable to me

   INTERROGATORY NO. 5:

   Describe any criminal record of Plaintiff; including whether Plaintiff has ever been
   convicted of a crime or has pleaded guilty or nolo contendere to a crime, and if so, the
   date of each conviction or plea, the name of the court, the crime involved, and the prison
   or jail, if any, where incarcerated.

   No criminal record and never been arrested or incarcerated

   INTERROGATORY NO. 6:

   For each denial of credit or insurance during the past five years, describe the denial, e.g.,
   whether oral or written, and the reasons given for the denial, any dispute related to the
   denial, etc.

  No denial or credit or insurance in past 5 years

  INTERROGATORY NO. 7:

  For each application of credit or insurance granted during the past five years, describe the
  credit or insurance obtained, e.g., the creditor, insurer, account number, repayment terms,
  etc.

  No application of credit or insurance granted during the past 5 years

  INTERROGATORY NO. 8:

  Identify all Persons having knowledge of any of the facts, occurrences, and matters set
  forth in the Complaint and describe generally the substance of the knowledge possessed
  by each such Person.

  None
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  INTERROGATORY NO. 9:

  Identify what specific information was not included in Plaintiffs Credit Disclosures that
  Plaintiff alleges should have been included under 15 U.S.C. § 168lg(a)(l)

  Cannot answer this interrogatories, because I never ask for Credit Disclosures.

  INTERROGATORY NO. 10:

  State the basis for Plaintiff's allegation that Experian failed to provide information
  relating to Plaintiff in Plaintiff's Credit Disclosures that Experian is required to provide
  under 15 U.S.C. § 168lg(a)(l).

  Cannot answer this interrogatories, because I never ask for Credit Disclosures.


  INTERROGATORY NO. 11:

  Identify what specific information was not included in Plaintiff's Credit Disclosures that
  Plaintiff alleges is included in Plaintiff's Credit Reports.

  Cannot answer this interrogatories, because I never ask for Credit Disclosures.


  INTERROGATORY NO. 12:

  State the basis for Plaintiff's allegation that Experian provides information relating to
  Plaintiff in Plaintiff's Credit Reports that Experian does not include in Plaintiff's Credit
  Disclosures.

  Cannot answer this interrogatory because the plaintiff never ask for a Credit
  Disclosure.

  INTERROGATORY NO. 13:

  State the basis for Plaintiffs allegation that Experian's alleged violations of the FCRA
  were willful.

  Basis of my allegation was clearly outlined in his complaint

  INTERROGATORY NO. 14:

  Describe all actual damages suffered by Plaintiff as a result of Experian' s alleged actions,
  including the nature of each item of damage, the amount of each item of damage, the date
  each item of damage was incurred, the amount of compensation Plaintiff alleges
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  entitlement to from the loss, how the figures used in compensating the value of each item
  of damage were computed, and all facts which form the basis of Plaintiff's contention
  that Experian' s acts or omissions proximately caused the item of damage.

  $1000 statutory damages, and the $400 filing fee


  INTERROGATORY NO. 15:

  Describe all humiliation, embarrassment and mental or emotional distress or similar type
  injury suffered by Plaintiff as a result of Experian' s alleged actions, including all
  manifestations of such mental states and any medical treatment received as a result
  thereof.

  None

  INTERROGATORY NO. 16:

  Describe any loss of employment opportunities suffered by Plaintiff as a result of
  Experian's alleged actions.

  None

  INTERROGATORYN0.17:

  For each of Your responses to Experian's Requests for Admission (served concurrently
  herewith) which is not an unqualified admission, state the basis for your denial of the
  facts stated in each Request.

                     is interrogatory, as it is written



   arl Gavin
  300 Marion Ave
  Gaffney SC 29341
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                               CERTIFICATE OF SERVICE

  I hereby certify that on August 6, 2018, I served a true and correct copy of the foregoing

  Defendant Experian Information Solutions, Inc.' s First Set of Interrogatories to Plaintiff

  Earl Gavin on the following parties via electronic mail as agreed :


  Counsel for Defendant Experian Information Solutions, Inc.
  Lyndey Zwing
  Adams & Reese LLP
  1501 Main St 5th Floor
  Columbia SC 29201

  Counsel for Defendant Trans Union, LLC
  Wilbur E. Johnson
  Young Clement Rivers, LLP
  PO Box 993
  25 Calhoun Street, Suite 400
  Charleston SC 29401

  Counsel for Defendant Equifax, Inc.
  Rita Bolt Barker
  WYCHE
  44 East Carnperdown Way,
  Greenville SC 29601-3512
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

                                                )
   EARL GAVIN                                   )
             Plaintiff                          )
                                                )       Case No 7:18-cv-00523-DCC-JDA
   vs                                           )
                                                )
   EXPERIAN INFORMATION                         )
   SOLUTIONS, INC.; TRANS UNION                 )
   LLC; EQUIFAX INFORMATION
   SERVICES LLC, EQUIFAX, INC;                  )
             Defendants                         )
                                                )
                                                )

        PLAINTIFF EARL GAVIN RESPONSES TO DEFENDANT EXPERIAN
                     INFORMATION SOLUTIONS, INC.'S
         FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS


  Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Earl Gavin responds to the

  Defendant Experian Information Solutions Inc.' s


                              PRELIMINARY STATEMENT

  Although Plaintiff has made a diligent and good faith effort to obtain the information

  necessary to respond to Defendant' s First Request for Production, discovery in this matter

  is ongoing. Moreover, Plaintiff has not yet completed its investigations of this matter.

  For those reason, Plaintiff anticipate that its responses may be incomplete and that

  additional information may be obtained which could affect its responses. Accordingly, all

  of the following responses are given without prejudice to and with the express reservation

  of Plaintiff's right to supplement or modify its objections and responses to the extent

  required by applicable law to incorporate late discovered information, and to rely upon
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   and all such information and documents at trial or otherwise.

   Likewise, Plaintiff shall not be prejudiced if any of its present, objections and response

   are based on an incomplete knowledge or comprehension of the facts, events or

   occurrences involved in this matter.

   If Defendant, subsequently asserts a different interpretation than presently understood by

   Plaintiff, Plaintiffreserves the right to supplement or amend these ubjeclions and

   responses.

   Finally, PlaintifI's responses herein do not constitute admission or acknowledgements

   that the documents sought are within the proper scope of discovery. Nor shall a statement

   that documents will be produced constitute an admission that such documents in fact

   exist. Instead, it only shall mean that, if responsive documents exist and survive the

   general and specific objections, they will be produced. Likewise, and objection to

   producing does not mean that documents otherwise responsive to a particular demand in

   fact exist.


                           DEFINITIONS AND INSTRUCTIONS

   The following definitions and instructions shall apply to Experian' s requests for
   production:

   1. "Document" is used in the broadest sense contemplated by Federal Rule of Civil
   Procedure 34, and includes, but is not limited to, the following items: agreements; drafts;
   communications; correspondence; e-mails; telegrams; cables; facsimiles; memoranda;
   records; books; financial statements; summaries of records or notes of personal
   conversations or interview; diaries; calendars; forecasts; statistical statements;
   accountants work papers; graphs; charts; maps; diagrams; blue prints; tables; indexes;
   pictures; recordings; tapes; microfilm; charge clips; accounts; analytical records; minutes
   or records of meetings or conferences; reports and/or summaries of investigations;
   opinions or reports of consultants; appraisals; reports and/or summaries of negotiations;
   brochures; pamphlets; circulars; trade letters; press releases; contracts; stenographic,
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  handwritten or any other notes; projections; working papers; federal and state income tax
  returns; checks, front and back; check stubs or receipts; shipping documents; manifests;
  invoice vouchers; computer printouts and computer disks and tapes; and tape data
  sheets or data processing cards or disks or any other written, recorded, transcribed,
  punched, taped, filmed or graphic matters; however produced or reproduced.

   2. "Communication" includes every manner of transmitting or receiving facts,
   information, opinions, or thoughts from one person to another person, whether orally, by
   documents, writing, e-mail, or copy thereof, and to words transmitted by telephone, radio,
   or any method of voice recording.

   3. The word "Person" means any natural or artificial person, including business
   entities and other legal entities.

  4. "Experian" refers to Defendant Experian Information Solutions, Inc. an Ohio
  corporation with its principal place of business located in Costa Mesa, California.

  5. "You," "Your" and "Plaintiff'' refers to Plaintiff Earl Gavin and any agents,
  representatives, or other persons acting, or who have acted, on Plaintiffs behalf.

  6. "Complaint" refers to the First Amended Complaint filed by Plaintiff Earl Gavin
  on or about May 25, 2018, in the United States District Court, District of South Carolina,
  Case No. 7:18-cv-00523-AMQ-JDA..

  7. "FCRA" refers to the federal Fair Credit Reporting Act, codified at 15 U.S.C.
  §§ 1681-168lu.

  8. "Plaintiffs Credit Report" refers to the report or reports on Plaintiffs credit
  history compiled by Experian and provided to third parties.

  9. "Plaintiff's Credit Disclosure" refers to the report or reports on Plaintiffs credit
  history compiled by Experian and provided to Plaintiff.

  10. "And" or "or" shall be construed conjunctively or disjunctively as necessary to
  make the requests inclusive rather than exclusive.

   11. The use of the word "including" shall be construed to mean "without limitation."

  12. Reference to the singular in any of these requests shall also include a reference to
  the plural, and reference to the plural shall include a reference to the singular.

  13. "Related to" or "relating to" shall mean directly or indirectly supporting,
  evidencing, describing, mentioning, referring to, contradicting, comprising or concerning.

  14. The documents requested herein shall be produced as they are kept in the usual
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   course of business or shall be organized and labeled according to the number of the
   document request.

   15. The duty to produce documents shall not be limited or affected by the fact that the
   same document is available through another source. All documents should be produced
   which are not subject to an objection and are known by, possessed or controlled by, or
   available to Plaintiff or any of his attorneys, consultants, representatives, employees,
   officers, directors, partners, or other agents.

   16. In the event Plaintiff asserts any form of objection or privilege as a ground for not
   answering a document production request or any part of a request, please set forth the
   legal grounds and facts upon which the objection or privilege is based. If the objection
   relates to only part of the document, the balance of the document production should be
   answered in full. With respect to any document which is withheld on a claim of privilege,
   Plaintiff shall provide, at the time responses are due hereunder, a statement setting forth
   as to each such document the following information:

   a. the name(s) of the sender(s) of the document;

   b. the name(s) of the author(s) of the document;

   c. the name(s) of the Person(s) to whom the document or copies were sent;

   d. the date of the document;

   e. a brief description of the nature and subject matter of the document; and

   f. the nature of the privilege or the authority which is claimed to give rise to
   it.

   17. If any documents requested have been destroyed, lost, mislaid, or are otherwise
   missing, please so state, specifying for each document or thing:

   a. the type of document;

   b. a description of the nature and contents of the document;

   c. the identity of the author;

   d. the circumstances under which it ceased to exist;

   e. the identity of all Person( s) having knowledge of the circumstances under
   which it ceased to exist; and

   f. the identity of all Person(s) who had knowledge of the contents.
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  18. Should Plaintiff obtain any other documents or information which would
  supplement or modify the documents or information supplied by Plaintiff in response to
  this request, Plaintiff is directed, pursuant to Federal Rule of Civil Procedure 26(e), to
  give timely notice of such documents and information and to furnish the additional
  documents or information to Experian without delay.

  19. Unless otherwise specified, these requests for production seek documents and
  information from Jan. 3, 2013, through the present.


                            DOCUMENTS TO BE PRODUCED


  REQUEST N0.1:
  All Documents identified in response to Experian' s First Set of Interrogatories
  propounded to Plaintiff, served contemporaneously herewith.

  RESPONSE: All documents has been provided or already in the Defendant possession.


  REQUEST NO. 2:
  All statements taken by Plaintiff or on Plaintiffs behalf from any person relating to the
  claims alleged in the Complaint.

  RESPONSE: No such documents or statements exist


  REQUEST NO. 3:
  All Documents relating to any correspondence or communication between Plaintiff and
  Experian, including any copies of Plaintiffs Credit Disclosure or any disputes
  communicated to Experian by Plaintiff.

  RESPONSE: Cannot provide any documents responsive to this request because the
  Plaintiff didn't request copy of a Credit Disclosure


  REQUEST NO. 4:
  All Documents relating to any correspondence or communication between Plaintiff and a
  consumer credit reporting agency other than Experian.

  RESPONSE: Plaintiff objects to this request as unduly burdensome and not proportional
  to the needs in that it seeks documents as no relevance' s to them directly.
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  REQUEST NO. 5:
  All Documents relating to Plaintiffs Credit Reports obtained from any source.

  RESPONSE: Plaintiff object to this request on the bases that it is overbroad, vague and
  ambiguous, and seeks information that is irrelevant to Plaintiff claims and
  disproportionate to the needs of this case


  REQUEST NO. 6:
  All tangible reports, physical models, compilations of data, and other materials prepared
  by an expert, or for an expert, who may testify at the trial of this matter or in a deposition
  for this lawsuit.

  RESPONSE: Plaintiff is not in possession of documents responsive to this request.


  REQUEST NO. 7:
  All tangible reports, physical models, compilations of data, and other materials prepared
  by an expert used for consultation which have been reviewed in whole or in part by an
  expert who may be called as a witness by Plaintiff for this lawsuit.

  RESPONSE: Plaintiff is not in possession of documents responsive to this request.


  REQUEST NO. 8:
  All Documents which refer or relate to Experian' s alleged violation of section 1681 g of
  the FCRA.

  RESPONSE: Attached the copy of his credit report, which was not what was asked at the
  time Plaintiff request a copy of his Full Consumer File Disclosure.


  REQUEST NO. 9:
  All Documents pertaining to Plaintiffs claims against Experian.

  RESPONSE: Any and all documents in my possession, has been provided, or already in
  Experian possession or its attached in my responses Defendant Discovery Request


  REQUEST NO. 10:
  All files, correspondence, notes, records or other Documents made or kept by Plaintiff (or
  anyone on Plaintiffs behalf) regarding the subject matter of this action.

  RESPONSE: Any and all documents in my possession, has been provided, or already in
  Experian possession or its attached in my responses Defendant Discovery Request
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   REQUEST NO. 11:
   All of Plaintiff's correspondence, applications, denial letters, credit reports or other
   Documents mentioning, relating to or referring to Experian or its employees.

   RESPONSE: No such documentations in my possession


   REQUEST NO. 12:
   All Documents relating to any correspondence or communication between Plaintiff and
   any person related to requesting a full consumer file disclosure or full file disclosme from
   Experian or another consumer reporting agency.

   RESPONSE: Plaintiff object to this request as its overly broad, unduly burdensome. And
   this request is not clear on what its asking for.


  REQUEST NO. 13:
  All Documents relating to any correspondence or communication between Plaintiff and
  any person relating to any person filing suit against Experian or another consumer
  reporting agency for violations of 15 U.S.C. 1681g.

  RESPONSE: Plaintiff object to this request as its overly broad, unduly burdensome. And
  this request is not clear on what its asking for.


  REQUEST NO. 14:
  All Documents which refer or relate to whether Experian failed to clearly and accurately
  disclose to Plaintiff, upon Plaintiff's request, the nature and substance of all information
  in Experian's files on Plaintiffs credit history.

  RESPONSE: Cannot provide any documents base how this request is written.


  REQUEST NO. 15:
  All Documents which refer or relate to the amount of actual monetary loss suffered by
  Plaintiff as a result of Experian' s alleged failure to provide Plaintiff with all the
  information required by 15 U.S.C. § 1681g.

  RESPONSE: Cannot answer this question because Experian did NOT provide his Full
  Consumer File Disclosure


  REQUEST NO. 16:
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  All Documents which refer or relate to the amount of actual monetary loss suffered by
  Plaintiff as a result of the compilation and furnishing of Plaintiffs Credit Report by
  Experian.

  RESPONSE: Cannot answer this question because the Plaintiff didn' t request his Credit
  Report from Experian at the time he requested his Full Consumer File Disclosure.


  REQUEST NO. 17:
  All Documents which refer or relate to whether Plaintiff's reputation was damaged as a
  result of Experian's alleged failure to provide Plaintiff with all the information required
  by 15 u.s.c. § 1681g.

  RESPONSE: No such documents exist


  REQUEST NO. 18:
  All Documents which refer or relate to whether Plaintiff's reputation was damaged as a
  result of the compilation and furnishing of Plaintiffs Credit Report by Experian.

  RESPONSE: No such documents exist


  REQUEST NO. 19:
  All Documents which refer or relate to whether Plaintiff suffered humiliation and/or
  emotional or mental distress as a result of Experian's alleged failure to provide Plaintiff
  with all the information required by 15 U.S.C. § 1681g.

  RESPONSE: No such documents exist


  REQUEST NO. 20:
  All Documents which refer or relate to whether Plaintiff suffered humiliation and/or
  emotional or mental distress as a result of the compilation and furnishing of Plaintiffs
  Credit Report by Experian.

  RESPONSE: No such documents exist


  REQUEST NO. 21:
  All Documents which refer or relate to whether Plaintiff lost employrrftmt or employment
  opportunities as a result ofExperian' s alleged failure to provide Plaintiff with all the
  information required by 15 U.S .C. § 1681g.

  RESPONSE: No such documents exist
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  REQUEST NO. 22:
  All Documents which refer or relate to whether Plaintiff lost employment or employment
  opportunities as a result of the compilation and :furnishing of Plaintiffs Credit Report by
  Experian.

  RESPONSE: No such documents exist


  REQUEST NO. 23:
  All Documents which refer or relate to whether Plaintiffs application for insurance was
  denied, or that one or more of Plaintiffs insurance policies were terminated, due to
  Experian' s alleged failure to provide Plaintiff with all the information required by 15
  U.S.C. § 1681g.

  RESPONSE: No such documents exist


  REQUEST NO. 24:
  All Documents which refer or relate to whether Plaintiffs application for insurance was
  denied, or that one or more of Plaintiffs insurance policies were terminated, due to the
  compilation and furnishing of Plaintiffs Credit Report by Experian.

  RESPONSE: No such documents exist


  REQUEST NO. 25:
  All Documents which refer or relate to whether Plaintiffs application for credit was
  denied, or that one or more of Plaintiff's credit accounts were decreased or terminated,
  due to Experian' s alleged failure to provide Plaintiff with all the information required by
  15 U.S.C. § 1681g.

  RESPONSE: No such documents exist


  REQUEST NO. 26:
  All Documents which refer or relate to whether Plaintiff's application for credit was
  denied, or that one or more of Plaintiffs credit accounts were decreased or terminated,
  due to the compilation and furnishing Plaintiffs Credit Report by Experian.

  RESPONSE: No such documents exist


  REQUEST NO. 27:
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  All Documents which refer or relate to whether the damages alleged by Plaintiff were
  willfully caused by Experian.

  RESPONSE: The request is vague, ambiguous, or unintelligible.


  REQUEST NO. 28:
  A copy of the disclosure from LexisNexis to which Plaintiff refers in the Amended
  Complaint. See Docket No. 52, First Amended Complaint for Violations of the FCRA, ,r
  37.

  RESPONSE: Plaintiff object to this request because Lexis Nexis Disclosure has personal
  information and this disclosure doesn' t have any relevance to Experian.


  REQUEST NO. 29:
  All Documents not otherwise requested herein which Plaintiff may introduce into
  evidence at trial or at any deposition in this matter.

                  1such documents has been provided and or attached to this request.


                  /


  Earl Gavm
  300 Marion Ave
  Gaffney SC 29341
  Egav l 986@gmail.com
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

                                                 )
   EARL GAVIN                                    )
             Plaintiff                           )
                                                 )       Case No 7:18-cv-00523-DCC-JDA
   vs                                            )
                                                 )
   EXPERIAN INFORMATION                          )
   SOLUTIONS, INC.; TRANS UNION                  )
   LLC; EQUIFAX INFORMATION
   SERVICES LLC, EQUIFAX, INC;                   )
             Defendants                          )
                                                 )
                                                 )

        PLAINTIFF EARL GA VIN RESPONSES TO DEFENDANT EXPERIAN
        INFORMATION SOLUTIONS, INC.'S FIRST SET OF REQUESTS FOR
                               ADMISSION

   Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Earl Gavin hereby respond

   to the Defendant First Set of Request for Admission



                               PRELIMINARY STATEMENT

   Although Plaintiff has made a diligent and good faith effort to obtain the information

   necessary to respond to Defendant's First Request for Admission, discovery in this matter

   is ongoing. Moreover, Plaintiff has not yet completed its investigations of this matter.

  For those reason, Plaintiff anticipate that its responses may be incomplete and that

   additional information may be obtained which could affect its responses. Accordingly, all

   of the following responses are given without prejudice to and with the express reservation

  of Plaintiff's right to supplement or modify its objections and responses to the extent

  required by applicable law to incorporate late discovered information, and to rely upon
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   and all such information and documents at trial or otherwise.

   Likewise, Plaintiff shall not be prejudiced if any of its present, objections and response

   are based on an incomplete knowledge or comprehension of the facts, events or

   occurrences involved in this matter.

   If Defendant, subsequently asserts a different interpretation than presently understood by

   Plaintiff, Plaintiff reserves the right to supplement or amend these objections and

   responses.

   Finally, Plaintiffs responses herein do not constitute admission or acknowledgements

   that the documents sought are within the proper scope of discovery. Nor shall a statement

   that documents will be produced constitute an admission that such documents in fact

   exist. Instead, it only shall mean that, if responsive documents exist and survive the

   general and specific objections, they will be produced. Likewise, and objection to

   producing does not mean that documents otherwise responsive to a particular demand in

   fact exist.


                                          DEFINITIONS

   1. "Experian" refers to Defendant Experian Information Solutions, Inc.

  2. "You," "Your" and "Plaintiff' refers to Plaintiff Earl Gavin and any agents,
  representatives, or other persons acting, or who have acted, on Plaintiff's behalf.

  3. "Complaint" refers to the First Amended Complaint filed by Plaintiff Earl Gavin
  on or about May 25, 2018, in the United States District Court, District of South Carolina,
  Case No. 7:18-cv-00523-AMQ-JDA..

  4. "FCRA" refers to the federal Fair Credit Reporting Act, codified at 15 U.S .C.
  §§ 1681-1681u.

  5. "Plaintiffs Credit Report" refers to the report or reports on Plaintiff's credit
  history compiled by Experian and provided to third parties.
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   6. "Plaintiff's Credit Disclosure" refers to the report or reports on Plaintiff's credit
   history compiled by Experian and provided to Plaintiff.


                                    REQUESTS TO ADMIT

   REQUESTN0.1:

   Admit that Experian clearly and accurately disclosed to Plaintiff the nature and substance
   of all information in Experian' s file on Plaintiff's credit history in response to Plaintiffs
   request for such information.

   Denied

   REQUEST NO. 2:

  Admit that after sending a "Full File Disclosure Request pursuant to 15 U.S. Code
  1681g(a)(l)" by letter dated October 4, 2017, Plaintiff received Plaintiffs Credit
  Disclosure on or around October 20, 2017 from Experian.

  Denied, because Plaintiff receive a credit report NOT Full File Disclosure as
  requested.


  REQUEST NO. 3:

  Admit that after sending a "Final Request Pursuant to 15 U.S.C. § 1681g(a)(l)" by letter
  dated December 29, 2017, Plaintiff received Plaintiffs Credit Disclosure on or around
  January 10, 2018 from Experian.

  Denied, because Plaintiff receive a credit report NOT Full File Disclosure as
  requested.


  REQUEST NO. 4:

  Admit that Plaintiffs Credit Disclosures dated October 20, 2017 contains no inaccurate
  information.

  Cannot answer this request, because Plaintiff receive only a his credit report

  REQUEST NO. 5:

  Admit that Plaintiffs Credit Disclosures dated January 10, 2018 contains no inaccurate
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   information.

   Cannot answer this request, because Plaintiff receive only a credit report


   REQUEST NO. 6:

   Admit that Experian has never failed to provide Plaintiff with a copy of Plaintiff's Credit
   Disclosure in response to any request by Plaintiff.

   Cannot answer this Request, because the Plaintiff didn't ask for a Credit Disclosure.

   REQUEST NO. 7:

   Admit that Plaintiff cannot identify any information that Experian did not include in
   Plaintiffs Credit Disclosures that should have been included.

   Cannot Answer this question because Plaintiff didn't ask for Credit Disclosure.
   Plaintiff ask for Full Consumer File Disclosure

   REQUEST NO. 8:

  Admit that Experian has never published Plaintiff's credit information without a
  permissible purpose, as defined under 15 U.S.C. § 1681b.

  Cannot admit or Denied because Experian never produce my full consumer file
  disclosure.


  REQUEST NO. 9:

  Admit that Experian has always notified Plaintiff of the results of its reinvestigation of
  Plaintiffs credit information within thirty days of receipt of each dispute from Plaintiff.

  Cannot admit or Denied because Experian never produce my full consumer file
  disclosure.


  REQUEST NO. 10:

  Admit that Experian followed reasonable procedures to ensure maximum possible
  accuracy of the information Experian reported with respect to Plaintiff.

  Denied
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  REQUEST NO. 11:

  Admit that Plaintiff was not damaged as a result of any act or omission on the part of
  Experian.

  Denied

  REQUEST NO. 12:

  Admit that Plaintiff was not denied credit as a result of the information Experian reported
  with respect to Plaintiff.

  Admit

  REQUEST NO. 13:

  Admit that Plaintiff was not denied insurance as a result of the information Experian
  reported with respect to Plaintiff.

  Admit

  REQUEST NO. 14:

  Admit that Plaintiff was not denied employment as a result of the information Experian
  reported with respect to Plaintiff.

  Admit

  REQUEST NO. 15:

  Admit that Plaintiff has not suffered any out-of-pocket loss as a result of any act or
  omission on the part of Experian.

  Denied . Plaintiff had $400 fee to file this lawsuit.

  REQUEST NO. 16:

  Admit that Plaintiff has not suffered any emotional distress, h~miliation or mental
  anguish as a result of any act or omission on the part of Experian.

   Admit
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  Earl Gavin
  300 Marion Ave
  Gaffney SC 29341




                               CERTIFICATE OF SERVICE

  I hereby certify that on August 6, 2018 I served a true and correct copy of the foregoing
  Defendant Experian Information Solutions, Inc:s First Set of Requests for Admission to
  Plaintiff Earl Gavin on the following parties via electronic mail as agreed in the parties'
  submitted Discovery Plan dated April 30, 2018:

  Counsel for Defendant Experian Information Solutions, Inc.
  Lyndey Zwing
  Adams & Reese LLP
  1501 Main St 5th Floor
  Columbia SC 29201

  Counsel for Defendant Trans Union, LLC
  Wilbur E. Johnson
  Young Clement Rivers, LLP
  PO Box 993
  25 Calhoun Street, Suite 400
  Charleston SC 29401

  Counsel for Defendant Equifax, Inc.
  Rita Bolt Barker
  WYCHE
  44 East Camperdown Way,
  Greenville SC 29601-3512
